                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


 CANDICE RANA SULFRIDGE,                )
                                        )
            Plaintiff,                  )
                                        )
 v.                                     ) No. 3:05-CV-188, 191, 202, & 203
                                        )     (Phillips/Guyton)
 JOHN HUFF, LARRY G. MOORE,             )
 JANETTE HARRIS, TIMOTHY HUTCHISON, )
 JOHN DOE I, JOHN DOE II, JOHN DOE III, )
 JOHN DOE IV, KNOX COUNTY,              )
 TENNESSEE, RANDY HINTON, and           )
 CHESTNUT STREET GARAGE, INC.,          )
                                        )
            Defendants.                 )
                                        )
 ADAM TRAVIS DAVIS,                     )
                                        )
            Plaintiff,                  )
                                        )
 V.                                     )
                                        )
 JOHN HUFF, TIMOTHY HUTCHISON,          )
 JOHN DOE DEPUTY SHERIFFS, and          )
 KNOX COUNTY, TENNESSEE,                )
                                        )
            Defendants.                 )


                                         ORDER



       This matter came before the Court for motions hearing on September 26, 2006.

 Upon oral motion, the Court GRANTS plaintiffs’ motion for withdrawal and substitution of

 counsel. Attorney Charles R. Terry is permitted to withdraw, and attorneys Herbert S.

 Monicer and David S. Wigler are permitted to appear on behalf of plaintiffs.



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        As to defendant Timothy Hutchison’s motion to dismiss plaintiff Adam Travis Davis’s

 complaint pursuant to Rule 37 of the Federal Rules of Civil Procedure [Doc. 114], said

 motion is DENIED. However, plaintiff Davis is ORDERED to produce all discovery requests

 to defendant Hutchison on or before November 15, 2006. Plaintiff Davis is cautioned that

 failure to comply will result in the dismissal of Davis’s complaint against defendant

 Hutchison. Furthermore, upon oral motion, the Court GRANTS defendant Knox County,

 Tennessee’s motion for extension of time in which to file dispositive motions. The parties

 will have until January 15, 2006 in which to file dispositive motions.



        As to defendant Timothy Hutchison’s motion for summary judgment in his individual

 capacity [Doc. 131], said motion is GRANTED for the reasons stated from the bench.



        Further, civil actions Candice R. Sulfridge v. John Huff, et. al., No. 3:05-cv-202 and

 Adam T. Davis v. John Huff, et al., No. 3:05-cv-203 are remanded to the Knox County

 Circuit Court from which they were removed, as well as any other claims set forth in civil

 actions Candice R. Sulfridge v. John Huff, et. al., No. 3:05-cv-188 and Adam T. Davis v.

 John Huff, et al., No. 3:05-cv-191, except for claims for injury and damages arising under

 Title 42 U.S.C. §1983. Consequently, the only cause of action remaining in civil actions

 Candice R. Sulfridge v. John Huff, et. al., No. 3:05-cv-188 and Adam T. Davis v. John Huff,

 et al., No. 3:05-cv-191 pending in federal court are those arising out of defendants’ alleged

 violations of Title 42 U.S.C. §1983. In addition, defendants Randy Hinton and Chestnut

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 Street Garage, Inc. are dismissed from civil action Candice R. Sulfridge v. John Huff, et.

 al., No. 3:05-cv-188.



              IT IS SO ORDERED.


                                          ENTER:


                                                 s/ Thomas W. Phillips
                                               United States District Judge




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